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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Case No. 22-mj-943 (ECW)

 UNITED STATES OF AMERICA,                  )
                                            )
                             Plaintiff,     )
                                            )
               v.                           )   ORDER OF DETENTION
                                            )
 CARSON THOMAS MCCOY,                       )
                                            )
                             Defendant.     )


       On November 17, 2022, the defendant appeared in custody for a detention and

preliminary hearing following his November 15, 2022 initial appearance on a criminal

complaint charging him with Possession of a Firearm by an Ineligible Person in violation

of 18 U.S.C. § 922(g)(1). The defendant appeared in custody and was represented by

Assistant Federal Defender Matthew Deates.          The United States of America was

represented by Assistant United States Attorneys Mary S. Riverso and Jordan L. Sing.

The Court advised the defendant of the procedural posture of this matter, his constitutional

rights, and his right to consult with his appointed counsel. See 18 U.S.C. § 3142; Fed. R.

Crim. P. 5.1. The defendant ultimately elected to waive both the issues of probable cause

and detention pending trial. Based on that waiver, the other filings in this matter, and the

bond report, the Court concludes that no condition or combination of conditions will

reasonably assure the defendant’s appearance as required and the safety of the community.

Accordingly, the Court grants the government’s motion for detention pending trial.
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                  FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.     The defendant is charged by complaint with one count of being a felon in

possession of a firearm in violation of Title 18, United States Code, Sections 922(g) and

924(a)(8). (Dkt. 2.) This charge carries a maximum term of imprisonment of 15 years

and a $250,000 fine.

       2.     The nature and circumstances of the charged conduct are as follows. The

complaint alleges that on or about August 10, 2022, the defendant arrived at a residence in

Ham Lake, Minnesota in a black BMW. According to the complaint, the defendant

previously stole the black BMW from a local car dealership. The defendant obtained the

vehicle under false pretenses by presenting an identification card that was not his to

facilitate a test drive of the vehicle and never returned it. Upon arrival at the Ham Lake

residence, the defendant entered the residence by prying open the front door open. The

defendant proceeded to steal numerous items, including Springfield Armory .45 caliber

Model XD Mod-2 pistol bearing serial number GM439089, two loaded ammunition

magazines, and $1,500 in cash. The defendant then left the residence in the stolen black

BMW.

       3.     Less than 30 minutes later, law enforcement officers responded to a report of

shots fired involving the same black BMW. According to the complaint, the black BMW

had nearly collided with three motorcyclists. Someone in the black BMW thereafter

opened fire on the motorcyclists through the sunroof of the vehicle. The responding law

enforcement officers located the vehicle shortly thereafter, but the vehicle fled.       It

eventually collided with a patrol vehicle and crashed into a tree. The defendant and a

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female passenger were taken into custody. A subsequent search of the black BMW

recovered the .45 caliber Springfield Armory handgun that had been stolen from the

residence in Ham Lake, a Bersa .380 caliber handgun with an obliterated serial number,

apparent illicit narcotics, U.S. currency, mail from 12 different residential addresses, and

the false Minnesota identification card that the defendant used to test drive the black BMW.

       4.     The complaint further alleged that the defendant knew he previously had

been convicted of numerous felonies punishable by a term of imprisonment exceeding one

year. These included burglary, flight of a peace officer, and fraud. According to the

complaint, because of these convictions, the defendant could not lawfully possess a

firearm. For this reason, the complaint charged the defendant with being a felon in

possession of a firearm, in violation of Title 18, United States Code, Sections 922(g)(1).

       5.     The defendant’s criminal history includes theft, residential burglary, assault,

and the possession of controlled substances. The defendant also has history of repeatedly

failing to appear for court appearances as required.         Although the defendant has

considerable ties to the community, he currently is unemployed and admitted to significant

daily struggles with substance abuse.

       6.     At the November 17 hearing, the defendant knowingly and voluntarily

waived his right to contest the probable supporting the charges in the complaint and to

contest the government’s motion for detention pending trial. Accordingly, the Court

found probable cause to support the allegations in the complaint and concluded that there

is no condition or combination of conditions for the defendant’s release that will reasonably

ensure the appearance of the defendant as required at future Court proceedings and the

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safety of any other person or the community. See 18 U.S.C. § 3142(e)(1); United States

v. Abad, 350 F.3d 793, 797 (8th Cir. 2003).

                                        ORDER

      1.    The motion of the United States for detention pending trial is GRANTED;

      2.    The defendant is committed to the custody of the Attorney General for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.    The defendant shall be afforded reasonable opportunity to consult privately

with counsel; and

      4.    Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the defendant is confined shall deliver the

defendant to the United States Marshal for the purpose of appearance in connection with

further court proceedings.

Dated: November 26, 2022                 s/Elizabeth Cowan Wright
                                         Hon. Elizabeth Cowan Wright
                                         United States Magistrate Judge




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